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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA CRIMINAL NO. 18-CR-170 (KBJ)

v. F I L E D
JAMES A. WoLFE, JUN l 2 2013
C|erk, U.S. Distdct & Bankruptcy
Defendant. Courts for the Dlstrlct of Co|umbla

 

GOVERNMENT’S CORRECTED MOTION TO UNSEAL
The United States of America, by and through its attorney, the United States Attorney for
the District of Columbia, hereby respectfully moves the Court to unseal the above-referenced
case in its entirety. At this juncture, the United States does not believe that any circumstances
remain to justify the continued sealing of the case.
WHEREFORE, the United States respectfully requests that the Court grant the instant
motion to unseal the case in its entirety.
Respectfully submitted,
JESSIE K. LIU

UNITED STATES ATTORNEY
DC Bar No. 472845

 

By: /s/
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